

Meckler v Molner (2022 NY Slip Op 00943)





Meckler v Molner


2022 NY Slip Op 00943


Decided on February 10, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 10, 2022

Before: Gische, J.P., Kern, Moulton, Kennedy, Rodriguez, JJ. 


Index No. 154332/19 Appeal No. 15285 Case No. 2021-02978 

[*1]Alan Meckler, Plaintiff-Respondent,
vDavid Molner, Defendant-Appellant.


David Molner, appellant pro se.
Kaiser Saurborn &amp; Mair, P.C., New York (David N. Mair of counsel), for respondent.



Order, Supreme Court, New York County (Arthur F. Engoron, J.), entered July 26, 2021, which granted plaintiff's motion to reargue, and, upon reargument, modified its prior order to designate JAMS as the arbitral forum, unanimously affirmed, with costs.
The court properly granted plaintiff's motion to reargue and to designate JAMS as the forum for the parties' arbitration (see  CPLR 2221[d]). The court had authority to designate an arbitral forum, since defendant, even after arguing on a prior motion that the parties were required to arbitrate their dispute, refused to submit the dispute to binding arbitration before any forum (see  CPLR 7504; Zandman v Nissenbaum , 53 AD2d 837, 838 [1st Dept 1976]).
We have considered defendant's remaining arguments and find them unavailing.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 10, 2022








